Case: 4:12-cr-00048-RWS            Doc. #: 26      Filed: 02/23/12     Page: 1 of 2 PageID #: 51




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
           Plaintiff,                          )
                                               )
     v.                                        ) No. 4:12CR048 RWS NAB
                                               )
TERRELL BROWN,                                 )
                                               )
           Defendant.                          )

                            ORDER AND SPEEDY TRIAL FINDING

          This matter is before the Court on Defendant’s Motion for an Extension of Time to File

Pretrial Motions [Doc. #25] filed on February 22, 2012. In support of the Motion Defendant

stated that the United State Attorney’s office sent discovery materials via FedEx to the

Defendant on or about February 16th or 17th, 2012. These materials arrived on February 20th,

2012 according to FedEx records. Counsel’s office was closed on that date and FedEx delivered

the package to the mail room of Defense Counsel’s building. To date Defense Counsel has not

seen this package and after due and diligent search said package cannot be located, either in the

mailroom or elsewhere. The US Attorney’s office has agreed to re-send the package on February

22, 2012, which would prevent receipt of said package before February 23rd or 24th, 2012 which

is the deadline for filing motions or waivers of motions.

          Defendant requested that the pretrial motion deadline previously set for February 24,

2012 be continued for ten (10) days.

          Speedy Trial Finding: For the reasons set out in Defendant’s motion, the Court finds

that to deny Defendant’s request for such additional time would deny counsel for Defendant the

reasonable time necessary for effective investigation and preparation of pretrial motions, taking
Case: 4:12-cr-00048-RWS          Doc. #: 26      Filed: 02/23/12      Page: 2 of 2 PageID #: 52




into account the exercise of due diligence, and that the ends of justice served by granting

Defendant’s request for additional time outweigh the best interest of the public and Defendant in

a speedy trial, and therefore, the time granted to Defendant to investigate and properly prepare

pretrial motions, or a waiver thereof, is excluded from computation of Defendant’s right to a

speedy trial pursuant to 18 U.S.C. §§ 3161(c)(1) and 3161(h)(7).

       IT IS HEREBY ORDERED that Defendant’s Motion for an Extension of Time to File

Pretrial Motions [Doc. #25] is GRANTED. Defendant shall have to and including March 5,

2012 to file any pretrial motions or waiver of motions. The government shall have until March

12, 2012 to respond.

       IT IS FURTHER ORDERED that the evidentiary hearing set for March 5, 2012 shall

be continued until March 14, 2012 at 10:00 a.m.



                                                           /s/ Nannette A. Baker
                                                     NANNETTE A. BAKER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated this 23rd day of February, 2012.
